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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                      :
                                                           :            Chapter 11
                                                           :
REPUBLIC METALS REFINING                                   :            Case No. 18-13359(SHL)
CORPORATION, et al., 1                                     :
                                                           :
                           Debtor.                         :
-----------------------------------------------------------x


                                APPOINTMENT OF
                   OFFICIAL COMMITTEE OF UNSECURED CREDITORS

        William K. Harrington, the United States Trustee for Region 2, under 11 U.S.C. §§
1102(a) and (b), hereby appoints the following unsecured creditors who are willing to serve on
the Official Committee of Unsecured Creditors of Republic Metals Refining Corporation, et al.,
debtors-in-possession:


    1. Coeur Rochester, Inc. c/o Coeur Mining, Inc.
       104 S. Michigan Avenue, Suite 900
       Chicago, IL 60603
       Attn: Robyn Koyner
       Telephone: 312-489-5800

    2. Bayside Metal Exchange
       6701 Center Drive Suite 840
       Los Angeles, CA 90045
       Attn: Eugene Fogel
       Telephone: 424-331-9511 Ext. 101

    3. So Accurate Group Inc.
       45-40 51st Street,
       Woodside, NY 11377
       Attn: Larry Wilson
       Telephone: 516-458-6404




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), and Republic
Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833).
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   4. Cyber-Fox Trading, Inc.
      71 W Plaza Del Lago
      Islamorada FL 33036
      Attn: Brandi Derringer
      Telephone: 305-302-6058

   5. Minera Triton Argentina S.A.
      Av. Cordoba 836, 7th Floor
      Buenos Aires C1054AAU Argentina
      Attn: A. Robert Doyle
      Telephone: 1-604-806-3159

   6. Pyropure Inc. d/b/a Pyromet
      5 Commerce Drive
      Aston, PA 19014
      Attn: Randy Klein
      Telephone: 610-497-1743

   7. Minera Real de Ora S.A. de C.V.
      9600 Prototype Court
      Reno, NV 89521
      Attn: David Ponczoch
      Telephone: 775-284-4422


Dated: New York, New York
       November 19, 2018


                                           WILLIAM R. HARRINGTON
                                           UNITED STATES TRUSTEE
                                           Region 2


                                    By:      /s/Shannon A. Scott
                                           Shannon A. Scott
                                           Trial Attorney
                                           U.S. Federal Office Building
                                           201 Varick Street, Room 1006
                                           New York, New York 10014
                                           Telephone: (212) 510-0500
